Case 1:17-cv-00670-PB Document 1-1 Filed 12/01/17 Page 1of1
CIVIL COVER SHEET

JS 44 (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service
| rules of court. This form, approved by the Judicial Conference of the |
ng the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

provided by |
purpose of ini

i of pleadings or other papers as required by law, except as
Jnited States in September 1974, is required for the use of the Clerk of Court for the

I. (a) PLAINTIFFS

Vermin Love Supreme

(b) County of Residence of First Listed Plaintiff Essex County, MA

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number,

)
Saunders & Silverstein LLP, 14 Cedar Street Suite 224, Amesbury, MA

01913, 978-463-9100

DEFENDANTS

NOTE:

Attomeys (Jf Known)

County of Residence of First Listed Defendant

IN LAND CONDEMNATION CASES,
THE TRACT OF LAND INVOLVED,

The City of Concord et al

_Merrimack County, NH __

(IN U.S, PLAINTIFF CASES ONLY)

USE THE LOCATION OF

J 1 U.S. Government

Plaintiff

42 US. Government
Defendant

in One Box Only)

As

Federal Question
(U.S. Government Not a Party)

14 Diversity
(Indicate Citizenship of Parties in Item Hl)

(For Diversity Cases Only)

IV. NATURE OF SUIT (Mace an “X" in One Box Only)

I. CITIZENSHIP OF PRINCIPAL PARTIES (Pisce an “¥" in One Bax for Plaintiff

and One Box for Defendant)

CONTRACT

TORTS

PTF DEF PTF DEF
Citizen of This State ol 1 Incorporated or Principal Place o4 4
of Business In This State
Citizen of Another State GO 2 © 2 Incorporated and Principal Place Os o5
of Business In Another State
Citizen or Subject of a O 3 O 3 Foreign Nation 46 6
Foreign Country
Click here for: Nature of Suit Code Descriptions.
FORFEITURE/PENALTY BANKRUPTCY

110 Insurance

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

154 Recovery of Overpayment
of Veteran's Benefits

160 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

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PERSONAL INJURY PERSONAL INJURY
0 310 Airplane 1 365 Personal Injury -
O71 415 Airplane Product Product Liability

Liability O 367 Health Care!
0 320 Assault, Libel & Pharmaceutical
Slander Personal Injury
330 Federal Employers’ Product Liability
Liability 368 Asbestos Personal

O 340 Marine
7 345 Marine Product

Injury Product
Liability

4 625 Drug Related Seizure
of Property 21 USC 881
7 690 Other

O 422 Appeal 28 USC 158
O 423 Withdrawal
28 USC 157

O $20 Copyrights

© $30 Patent

© 835 Patent - Abbreviated
New Drug Application

© 840 Trademark

Liability PERSONAL PROPERTY

LABOR

& 350 Motor Vehicle

0 355 Motor Vehicle
Product Liability

© 360 Other Personal
Injury

©) 362 Personal Injury -
Medical Malpractice

© 370 Other Fraud

371 Truth in Lending

5 380 Other Personal
Property Damage

O 385 Property Damage
Product Liability

l REAL PROPERTY

3 210 Land Condemnation

1 220 Foreclosure

O 230 Rent Lease & Ejectment
O 240 Torts to Land

3 245 Tort Product Liability
3 290 All Other Real Property

CIVIL RIGHTS PRISONER PETI TIONS
&& 440 Other Civil Rights Habeas Corpus:
0 441 Voting 6 463 Alicn Detainee
4 442 Employment 510 Motions to Vacate
O 443 Housing’ Sentence
Accommodations 3 $30 General
0 445 Amer. w/Disabilities -] 535 Death Penalty
Employment Other:
9 446 Amer. w/Disabilities -] 540 Mandamus & Other
Other 3 550 Civil Rights
4 448 Education 4 555 Prson Condition
& $60 Civil Detainee -
Conditions of
Confinement

© 710 Fair Labor Standards
Act

O 720 Labor/Management
Relations

1 740 Railway Labor Act

© 751 Family and Medical
Leave Act

O 790 Other Labor Litigation

O 791 Employee Retirement
Income Security Act

IMMIGRATION
O 462 Naturalization Application
O 465 Other Inunigration
Actions

O 861 HIA (1395ff)

O 862 Black Lung (923)

0 863 DIWC/DIWW (405(2))
1 864 SSID Title XVI

865 RSI (405(g))

FEDERAL TAX SUITS
O 870 Taxes (U.S. Plaintiff
or Defendant)
O 871 IRS—Third Party
26 USC 7609

1 375 False Claims Act
1 376 Qui Tam (31 USC
3729(a))
1 400 State Reapportionment
0 410 Antitrust
O 430 Banks and Banking
O 450 Commerce
4 460 Deportation
0 470 Racketeer Influenced and
Corupt Organizations
3 480 Consumer Credit
4 490 Cable/Sat TV
0 850 Securities Commodities
Exchange
9 890 Other Statutory Actions
3 $91 Agricultural Acts
© $93 Environmental Matters
4 895 Freedom of Information
Act
$96 Arbitration
899 Administrative Procedure
Acv/Review or Appeal of
Agency Decision
O 9$0 Constitutionality of
State Statutes

VY. ORIGIN (Pace an “X" in One Hox Oniy)

Ml Original o2

Proceeding

Removed from
State Court

3) Remanded from 4

Appellate Court

Reinstated or
Reopened
(specify)

5 ‘Transferred from
Another District

Transfer

1 6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

42 U.S.C. § 1983

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity):

Brief description of cause:
First amendment violation

VIL. REQUESTED IN
COMPLAINT:

> CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

DEMAND §

CHECK YES only if demanded in complaint:

JURY DEMAND:

M OYes No

VII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE ff

DOCKET NUMBER

~ peg. IPF

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

SIGN?
té "

APPLYING IFP

"Za RECORD
|
- —~

JUDGE

MAG, JUDGE
